IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

WESTERN DIVISION
Vicki Linneman, et al., : Case No. 1:15-cv-748
Plaintiffs,
Judge Susan J. Dlott
v.
Vita-Mix Corporation, et al., : Order
Defendants.

This matter is before the Court on Plaintiffs’ Motion for Attomeys’ Fees, Costs, and
Class Representative Service Awards. (Doc. 42.) Plaintiffs seek an order awarding
$7,188,846.25 in attomeys’ fees, $50,907.37 in expenses, and $3,000 in service awards to each
named Plaintiff.

In support of their request, counsel submitted charts of lodestar and expense totals by law
finn (Doc. 42-]), charts by law firm of total time and expenses (broken down by attorney rate,
total hours, and requested lodestar) (Doc. 42-2), and the Declarations of W.B. Markovits (Doc.
41-2), Jeffrey S. Goldenberg (Doc. 41-3), Justin C. Walker (Doc. 41-4), Geoffrey Miller (Doc.
41-5), Vicki Linneman (Doc. 42-3), and Obadiah N. Ritchey (Doc. 42-4).

Sigm`ficantly more documentation is needed. See Shane Group, Inc. v. Blue Cross Blue
Shield of Mich., 825 F.3d 299, 310-ll (6th Cir. 2016) (class counsel’s submission of a list of
employee names, titles, rates, hours, and the total lodestar for the firm in support of its fee
request was insufficient; submission in support of incentive awards also was insufficient as it
lacked documentation, in the manner of time sheets, detailing time spent on the case by each

award recipient). At this stage, the Court does not have enough information to understand the

level of experience of each billing professional and his or her individual contribution to the case.

Moreover, this information is essential for the Court to assess each attorney’s adjusted Rubin
Committee rate, which is its custom. See Hrur!er v. Hrrm. Crr:_v. Bd. QfE¢’ectr'ons. No. l:lO-cv-
820, 2013 WL 546??51, at *l'? (S.D. Ohio Scpt. 30, 201 3). In addition, the Court lacks
information about each named P|aintit`i"s time contribution to the case.

Withirr ten days of entry of` this Order, Plaintiffs’ counsel must supplement the record
with the following:

0 An affidavit from each attorneyfparalegal attesting to his or her experience level,
background, tasks billedr'completed on this case, billing rate, hours billed in this case, and

adjusted Rubin Committee rale;

o Two complete sets of billing records, one filed on the record and the other submitted in
electronic form with an index to the Coul't;l

o An affidavit from each Plaintiff seeking a service award describing his or her
contribution to this case;

¢ Two sets oi`time sheets for each Plaintifi` seeking a service award, one filed on the record
and the other submitted in electronic form with an index to the Court; and

o A Supplernental brief, no longer than seven pages, addressing how the supplemental

evidence supports Plaintil`f"s` Motion.

/Judge Susan J. ott
United States Dr trict Court

IT lS SO ORDERED.

 

' 'l`he Court is striving to make its review ofbilling records as easy as possible. Please make an el`f`orl to provide an
electronic copy that is easy to navigale. Il`lltere are any questions, the Court welcomcs Plaintiffs` counsel to contact
its case manager or lavvl clerk lo discuss them prior to its submission Furtherrnore, if` redactions are necessary to
protect attomey»elient privileged information, Plaintif`fs may file both a redacted version and an unredaeted version

under seal.
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